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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                           MULTDISTRICT LITIGATION


IN RE: UNITED STATES SOCCER                        )   MDL No.
FEDERATION PAY DISCRIMINATION                      )
LITIGATION                                         )
                                                   )

    BRIEF IN SUPPORT OF MOTION OF PLAINTIFFS FOR TRANSFER OF ACTIONS
     TO THE CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. § 1407
        FOR COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

        Plaintiffs1 in the putative class action Morgan et al. v. United States Soccer Federation,

Case No. 2:19-cv-01717, pursuant to 28 U.S.C. §1407, respectfully submit this brief in support of

their Motion for Transfer of Actions, and specifically for the transfer of the related action, Solo v.

United States Soccer Federation, Case No. 3:18-cv-05215 JD, to the Central District of California

for coordinated or consolidated pretrial proceedings. These actions involve common questions of

law and fact that arise from the United States Soccer Federation’s discriminatory pay practices and

are appropriate for MDL treatment.

I.      BACKGROUND

        Plaintiffs, twenty-eight female professional soccer players, filed a putative class and

collective action complaint in the Central District of California on behalf of all similarly situated

current and former members of the United States Senior Women’s National Soccer Team

(“WNT”). The case is against their employer, the United States Soccer Federation (“USSF”), for

its policies and practices of gender discrimination, which policies include paying Plaintiffs and the



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 The plaintiffs in Morgan et al. v. United States Soccer Federation, Case No. 2:19-cv-01717, are
Alex Morgan, Megan Rapinoe, Becky Sauerbrunn, Carli Lloyd, Morgan Brian, Jane Campbell,
Danielle Colaprico, Abby Dahlkemper, Tierna Davidson, Crystal Dunn, Julie Ertz, Adrianna
Franch, Ashlyn Harris, Tobin Heath, Lindsey Horan, Rose Lavelle, Allie Long, Merritt Mathias,
Jessica McDonald, Samantha Mewis, Alyssa Naeher, Kelley O’Hara, Christen Press, Mallory
Pugh, Casey Short, Emily Sonnett, Andi Sullivan and McCall Zerboni.
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class they seek to represent significantly less than their male counterparts, the members of the

United States Senior Men’s National Soccer Team (“MNT”), for substantially equal work, and

denying them equal treatment and working conditions. Specifically, Plaintiffs allege violations of

the Equal Pay Act, 26 U.S.C. § 206(d) and Title VII of the Civil Rights Act of 1974, 42 U.S.C.

§2000e et seq., and seek damages and injunctive relief.

       The complaint in the related action, Solo v. United States Soccer Federation, makes

precisely the same allegations and asserts the same claims on behalf of a single player. The main

differences between the actions are that Solo does not seek injunctive relief, only damages, and is

not seeking to represent a class.

II.    ARGUMENT

       The Panel should transfer and consolidate these cases in a single district because: (1) the

actions involve numerous common questions of fact and law, and (2) consolidation will

convenience the parties and witnesses, and will promote the just and efficient conduct of this

litigation. See 28 U.S.C. § 1407(a). Moreover, the Central District of California is the judicial

district best suited to ensure the just and efficient pre-trial conduct of the litigation because (1)

there is a strong nexus between the Central District of California and the parties to the current

litigation; (2) the Central District of California has the judicial resources to efficiently manage this

litigation; and (3) the Central District of California is the choice of forum of the entire group of 28

players on the current WNT, while Ms. Solo is a single former player on the team. Finally, the

Central District of California is a superior choice for pre-trial consolidation and coordination to

the Northern District of Illinois, which Plaintiffs anticipate to be the preferred forum choice of the

USSF, given that it is has moved to transfer the Solo case to that district.




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        A.       Transfer of the Actions for Coordination and Consolidation is Appropriate
                 Under 28 U.S.C. § 1407

                 1.     These Actions Involve Multiple Common Questions of Fact and Law.

        When multiple actions pending in different districts contain one or more common questions

of fact, such actions may be coordinated or consolidated in one district for pretrial proceedings.

See 28 U.S.C. § 1407(a). The two actions at issue here share multiple common questions of fact

and law, including but not limited to:

                Whether USSF constitutes a single establishment employing the members of the

                 WNT and MNT under the Equal Pay Act;

                Whether female WNT employees are paid at wage rates less than the wage rates

                 paid to male MNT employees;

                Whether female WNT employees and male MNT employees perform substantially

                 equal or similar work, when viewed as a composite of skill, effort, and

                 responsibility;

                Whether female WNT employees and male MNT employees perform work under

                 similar working conditions;

                Whether the differential in pay between female WNT employees and male MNT

                 employees is not due to bona fide seniority, merit, or incentive system or any other

                 factor other than sex.

        These common issues give the Panel the authority to order the transfer, consolidation, and

coordination of these actions to a single judicial district.




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               2.      Transfer to a Single Judicial District Will Convenience the Parties
                       and Witnesses and Promote the Just and Efficient Conduct of the
                       Actions.

       According to the Manual for Complex Litigation, the following four goals govern whether

transfer will facilitate the convenience of the parties and promote the just and efficient conduct of

the cases: (1) eliminating duplicative discovery; (2) avoiding conflicting rulings and schedules; (3)

reducing litigation cost; and (4) saving time and effort of the parties, attorneys, witnesses, and

courts. Manual for Complex Litigation (Fourth), § 20.131, at 220. Here, coordination and

consolidation of these cases serves all four goals.

       First, as described above, because the cases pose substantially similar questions involving

virtually the same facts and individuals, centralization will prevent duplicative discovery requests

and multiple depositions of the same witnesses who have information relevant to both actions. See

In re Auto Body Shop, 2014 WL 3909000, at *1-2 (J.P.M.L 2014) (finding transfer appropriate to

eliminate duplicative discovery in actions involving shared factual core because a single judge

could “structure pretrial proceedings to accommodate all parties’ legitimate discovery needs while

ensuring that common witnesses are not subjected to duplicative discovery demands”).

       Second, transfer and consolidation of the actions in a single district is in the interest of

justice because it will prevent multiple inconsistent rulings and protocols regarding the same

factual and legal issues. Proceeding separately and, in all likelihood, on different schedules,

creates a potential race to res judicata or collateral estoppel, which could prejudice the litigants

(and perhaps an entire class), including risking the denial of a jury right, in the event that any

portion of the outcome of one case is deemed determinative of issues in the other case. See, e.g.,

In re Enron Securities Derivative & ERISA Litig., 196 F. Supp. 2d 1375, 1376 (J.P.M.L. 2002)

(granting a transfer in part to prevent inconsistent pretrial rulings). Section 1407 transfer is the

most efficient way to ensure that pretrial processes across the cases are uniformly litigated and


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adjudicated, thereby avoiding a situation where multiple courts reach contrary conclusions and

subject litigants to conflicting responsibilities and obligations.

       Third, litigation costs will be reduced through the elimination of multiple court appearances

in both venues to resolve the same issues, in addition to the aforementioned discovery and motion

streamlining which will result in significant cost savings. If the actions continue in separate

districts, the overlapping factual inquiries would inconvenience the parties and the witnesses as

they will be forced to make appearances in both venues to resolve the same issues. Sparing the

parties and witnesses the expense and inconvenience of participating in overlapping litigation in

multiple judicial districts is precisely the Panel’s charge.

       Finally, in addition to the benefits that will be conferred upon the parties, attorneys, and

witnesses from the efficiencies described above, the Central District of California and the Northern

District of California (or the Northern District of Illinois if the Solo case were transferred) will be

spared the need to make separate inquiries into overlapping legal and factual issues.

       The Panel has previously transferred cases to form MDLs based upon a similar number of

pending actions. See, e.g., In re NCAA Grant-In Aid Cap Antitrust Litig., MDL No. 2541, Dkt.

No. 1 (J.P.M.L. June 4, 2014) (ordering transfer where two actions were pending in two districts);

In re: Park W. Galleries, Inc., Mktg. & Sales Practices Litig., 645 F. Supp. 2d 1358, 1360 (J.P.M.L.

2009) (ordering transfer where three actions were pending in three districts); In re: Optical Disk

Drive Prod. Antitrust Litig., 701 F. Supp. 2d 1382, 1383 (J.P.M.L. 2010) (ordering transfer of five

cases pending in two total districts); In re Wireless Telephone Replacement Protection Programs

Litig., 180 F. Supp. 2d 1381, 1382 (J.P.M.L. 2002) (granting transfer of three consumer protection

cases); In re Philadelphia Life Ins. Co. Sales Practices Litig., 149 F. Supp. 2d 937, 938 (J.P.M.L.




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2001) (granting transfer of two deceptive insurance sales cases and finding that such transfer would

promote the just and efficient conduct of the litigation).

       B.      The Central District of California Is the Proper Transferee Forum

       There are numerous reasons why the Central District of California is the superior forum

for the location of these cases in comparison to either the Northern District of California or the

Northern District of Illinois (the district to which the USSF has moved to transfer the Solo case,

which motion is pending before the court in the Northern District of California).

       First, the Central District of California has a strong nexus to the operative facts, as the

training facility for the WNT is located there, in Carson, California. Indeed, the WNT has

extensive practices and plays games in Carson—making it a primary site of the discrimination.

This creates a significant nexus between the litigation and the district that makes it the most

appropriate forum. See In re Ryder Truck Lines Inc. Employment Practices Litigation, 405 F.

Supp. 308, 308 (J.P.M.L. 1975) (transferring separate Title VII lawsuits to the Northern District

of Georgia because the employer’s policies impacted that particular part of the United States). In

this regard, it is particularly important that the USSF, the lone defendant in both actions, maintains

its U.S. Soccer National Training Center in Carson, California in the Central District of California,

as the location of this key facility in which Plaintiffs work for the USSF distinguishes this district

from either the Northern District of California or the Northern District of Illinois. See In re

Guidant Corp. Implantable Defibrillators Prods. Liab. Litig., 398 F. Supp. 2d 1371, 1372

(J.P.M.L. 2005) (recognizing a nexus between a particular transferee forum and the litigation as

an important factor); In re: TD Bank, N.A., Debit Card Overdraft Fee Litigation, 96 F. Supp. 3d

1378, 1379 (J.P.M.L. 2015) (transferring to the District of South Carolina and noting, “[a]lthough

TD Bank is not headquartered in the District of South Carolina, it maintains sizeable operations in

South Carolina”). USSF entered into a 25-year lease on its National Training Center in 2002, and


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has invested almost $6 million in improvements to the facilities. And, at this center, among other

things, USSF holds major training camps each year, including to evaluate WNT players, and hosts

WNT games. By contrast, USSF does not have any facilities in the Northern District of California

and does not have any training facility for the WNT in the Northern District of Illinois.

       While the USSF does have its headquarters in Chicago, Plaintiffs do not have any reason

to go to Chicago each year as part of their job responsibilities. This is in contrast to Carson, where

the players practice extensively every year. In addition, only a very small fraction of the collective

bargaining negotiations to set the discriminatory pay of the WNT players took place in Chicago.

Because the USSF negotiators and the WNT negotiators were located throughout the country

(including in the Central District of California), the vast majority of the negotiations leading to the

disparity in pay took place in New York, Oregon, or other locations outside of Chicago, including

multiple negotiation sessions in Los Angeles within the Central District of California. Two Los

Angeles Plaintiffs, Christen Press, who had significant involvement in the collective bargaining

agreement negotiation sessions, and Alex Morgan, one of the proposed class representatives who

also participated in bargaining, attended Los Angeles negotiations in person. The longest of the

negotiating sessions took place in Portland, Oregon and lasted for eleven days, and other sessions

took place in New York, Dallas, and Washington D.C. The fact that USSF has its headquarters in

Chicago thus does not establish a nexus with the conduct at issue, because the pay disparity was

not extensively negotiated there in comparison to other locations.

       Further, Plaintiffs allege they have been subjected to discriminatory treatment across the

country and world, through inferior accommodations, playing and traveling conditions, and

promotional support.     Given the broad geographical scope of USSF’s business operations

regarding the WNT players, the disparate geographic locations of the collective bargaining




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negotiations with the WNT, and the nation-wide discriminatory treatment of the WNT players, the

import of USSF’s headquarters in Chicago is minimal in the “nexus” analysis.

       Second, many key witnesses are located in the Central District of California, and many

other witnesses are scattered throughout the country, while very few are located in either the

Northern District of California or the Northern District of Illinois. The most relevant witnesses

are likely to be the Plaintiffs, and as mentioned above, two key plaintiff-player witnesses live in

the Central District of California. Overall, 14 of the 28 Plaintiffs live on or near the West Coast,

and only two reside near Chicago. Other key witnesses for the Plaintiffs may be their collective

bargaining representatives, none of whom reside in the Northern District of Illinois.

       The key participants and witnesses from USSF are no more connected to the Northern

District of Illinois. In fact, one of the key witnesses from the USSF, Russell Sauer, who was its

primary attorney and outside negotiator during the collective bargaining sessions, resides and

works, and conducted a number of the acts alleged in the Complaint, in the Central District of

California. Mr. Sauer is an especially important witness because he made one of the discriminatory

comments alleged in the Complaint during the collective bargaining negotiations. Another

important USSF witness whose statements are quoted in the Complaint, President Carlos Cordeiro,

resides in New York, as does his predecessor as USSF President, Sunil Gulatti. Both of these

important witnesses have no connection to the Northern District of Illinois. Indeed, while USSF

may point to its headquarters in Chicago as being a reason to transfer the cases there, the reality is

that almost all of its important witnesses in the case are located outside of Chicago, including not

only Messrs. Sauer, Cordeiro and Gulatti, but also Congresswoman Donna Shalala, a major

participant in the collective bargaining negotiations, who resides in Florida, and Kathryn

Ruemmler, USSF’s other attorney during the negotiations, who resides in Washington D.C. Where




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relevant witnesses are “scattered throughout the country,” it is appropriate to transfer to a forum

where “some of the witnesses” are located nearby. See In re CBS Color Tube Patent Litig., 329

F. Supp. 540, 541-42 (J.P.M.L. 1971). The Central District of California, where Plaintiffs Morgan

and Press and USSF counsel and negotiator Sauer reside, fit this description. Furthermore, a third

Plaintiff, McCall Zerboni, also resides in the Central District of California in the off-season with

her family.

       Third, the location of documents does not favor any of the three districts. The 28 players

are located around the country, with three located in the Central District of California, two in the

Northern District of Illinois, and two in the Northern District of California. Their documents will

thus be located in many different places. On the USSF side, as noted above, most of the negotiators

for the USSF are not located in Chicago and one key negotiator is located in the Central District

of California, with the others scattered around the country. The same is true of the negotiators for

Plaintiffs’ union, who are also located around the country. The documents from these negotiators

will thus not be centrally located in one place. As for the USSF records on compensation and

finances, which are presumably located in Chicago, those documents are all electronic in nature,

very limited in scope, and easily produced electronically in any forum. In fact, the financial

statements of the USSF are publicly available on its website and accessible from any location, and

the compensation to the WNT and the MNT is set forth in collective bargaining agreements, which

are also easily accessible in any forum.

       Fourth, although all three districts are very capable, the Central District of California is

better suited to handle this case compared to the Northern District of California or the Northern




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District of Illinois. According to the Federal Court Management Statistics2 and the JPML statistics

on pending MDLs,3 the Northern District of California has 19 pending MDL matters with 14

judgeships, the Northern District of Illinois has 10 pending MDL matters with 22 judgeships, and

the Central District of California has only 7 pending MDL matters with 28 judgeships and 4

visiting judges. Further, the time for a civil case to go from filing to trial is a whopping 38.3

months in the Northern District of Illinois, and 29.2 months in the Northern District of California,

compared to just 21.5 months in the Central District of California. The Panel considers the number

of MDL cases pending in a district, favoring districts presiding over fewer MDL cases than other

proposed districts. See In re Horizon Organic Milk Plus DHA Omega-3 Marketing and Sales

Practice Litig., 844 F. Supp. 2d 1380, 1381 (J.P.M.L. 2012) (considering the relatively few MDL

cases pending in the district in deciding to transfer to the Southern District of Florida).

        Fifth, the plaintiffs’ choice of forum strongly favors the Central District of California.

While the Solo complaint was filed first, that is not determinative, and the entire current roster of

the WNT, 28 Plaintiffs strong, have chosen the Central District of California as their preferred

forum. Further, Ms. Solo’s case does not seek class action status, and Ms. Solo filed her complaint

before receiving a right to sue letter from the EEOC, while Plaintiffs, who have the interests of a

class to represent, could not afford to risk a failure to exhaust administrative remedies by filing

their action before the right to sue letter was received. The overwhelming choice of forum for all

but one plaintiff is the Central District of California.




2
  Available at
https://www.uscourts.gov/sites/default/files/fcms_na_distcomparison1231.2018.pdf.
3
  Available at
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-February-
15-2019.pdf.



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       Moreover, the Solo case has not progressed beyond the Rule 12 stage, and the judge in the

Solo case has stayed any consideration of USSF’s motion to dismiss because USSF, as previously

noted, filed a motion to transfer the case to the Northern District of Illinois. That motion, however,

no matter how decided, would not resolve the issues before this Panel, which are to determine

whether to establish an MDL for the two actions and in which court to do so. Indeed, even if the

court in the Northern District of California transfers that case to the Northern District of Illinois,

this Panel would still have to decide where it is most appropriate to locate the MDL for the two

actions.

III.   CONCLUSION

       For all of the above reasons, Plaintiffs respectfully request that the Panel order the transfer

of the related action, Solo v. United States Soccer Federation, Case No. 3:18-cv-05215 JD, for

coordinated or consolidated pretrial proceedings to an MDL court in the Central District of

California.


Dated: March 8, 2019                           WINSTON & STRAWN LLP


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